Case 5:24-cv-00225-H           Document 25      Filed 12/03/24      Page 1 of 2      PageID 126



                          IN THE I,]NITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                      LUBBOCK DIVISION

STATE OF TEXAS, a sovereign                      )
State of the United States, Et Al. ,             )
                                                 )
                        Plaintifls,              )
                                                 )
                                                 )
                                                 )
XAVIER BECERRA, in his fficial capacity          )
as Secretary of Health and Human Services;       )
UNITED STATES DEPARTMENT OF                      )
HEALTH AND HUMAN SERVICES,                       )
                                                 )
                        Delendants.              )   Civil Action No. 5:24-CY-225-C

                                             ORDER

        Before the Court is the Parties' Joint Motion to Stay Answer Deadline and for Entry of

Agreed Scheduling Order, filed November 22,2024. After due consideration of the Joint Motion

and applicable law, the Court finds that good cause exists and the Parties' Joint Motion should be

and hereby is GRANTED.

        l'he Court ORDERS as fbllows:

        l. Defendants' deadline to file an answer to Plaintifls Complaint is stayed until
resolulion of Parties' Motion for Sumnrary Judgment and Cross-Motion for Summary Judgment;

        2. Defendants shatl file the administrative record on or before December 15,2024;

        3. Plaintiffs shall file, as a single brief, their Motion for Summary Judgment on or belore

January 15, 2025;

        4. Defendants shall file their combined Cross-Motion for Summary Judgment and

Opposition to Plaintiffs' Motion for Summary Judgment, as a single brief, on or before

February 12,20251'
Case 5:24-cv-00225-H          Document 25       Filed 12/03/24    Page 2 of 2     PageID 127



       5. Plaintiffs shall files their combined Opposition to Defendants' Cross-Motion for

Summary Judgment and Reply to Defendants' Opposition, as a single brief, on or before

March 12, 2025; and

       6. Defendants shall file their Reply to Plaintiffs' Opposition on or before April9,2025.

       SO ORDERED.

       Dared December
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                                                                 GS
                                            S        OR UNITED STATES         TRICT JUDGE




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